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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA


Heather Gonsior, Rebecca                                  Case No. 0:17-cv-04619
Lavelle-Register, Kathryn
O’Donnell, Rebecca Rocha, and
Laurie A. Raymond, Attorney at
Law,
                                      Plaintiffs
v.

CenturyLink, Inc.,
                                      Defendant
                                                           AMENDED CLASS ACTION
                                                           COMPLAINT
                                                           DEMAND FOR JURY TRIAL


       Plaintiffs bring this action on behalf of themselves and all others similarly situated,

and file this amended Class Action Complaint against CenturyLink, Inc. (“CenturyLink,”

“Defendant,” or “the Company”). Plaintiffs allege the following based on information and

belief, the investigation of counsel, and personal knowledge as to the allegations pertaining

to themselves.

                                      I. INTRODUCTION

      1.         Thousands of residential and business customers join together in this action

accusing CenturyLink of running an aggressive boiler room sales operation and a sham

customer service process. Through its model, CenturyLink routinely promised low prices

during the sales process only to charge higher amounts and add unauthorized charges during

billing. These practices bilked customers out of tens of millions of dollars.




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      2.       CenturyLink has sought to minimize its customers’ concerns as mere “billing

disputes.” But this action is not about mere billing disputes. It is about CenturyLink’s

uniform business model; the generate-sales-at-all-costs programs it forced on its sales offices

and employees, the reckless incentive programs it perpetuated, and the rampant customer

abuses that necessarily resulted.

      3.       CenturyLink employed its hyper-aggressive sales model across its call centers,

where “customer service representatives” were actually sales employees, well-trained to meet

draconian sales quotas and revenue targets through any means necessary.

      4.       CenturyLink’s chosen business model yielded predictable results by

encouraging and rewarding deceptive and other unlawful conduct. Thousands of its

customers have complained of virtually uniform treatment by the Company’s sales, billing,

and customer service departments.

      5.       Specifically, customers have routinely reported: (1) being promised one rate

during the sales process but being charged a higher rate when actually billed; and (2) being

charged unauthorized fees, including billing for services not ordered, for fake or duplicate

accounts, for services ordered but never delivered, for services that were canceled, for

equipment that was properly returned, and for early termination fees.

      6.       When customers complained—and many thousands have—CenturyLink not

only encouraged but rewarded its agents to deny remedying the wrongful charges and keep

as much of the overcharges in the Company as possible.

      7.       To retain those overcharges, CenturyLink had a pervasive and persistent

practice of: denying that original prices quoted had ever in fact been quoted, that the prices


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or services previously offered were impossible to provide, refusing to honor price promises,

denying that returned modems had in fact been returned, claiming that the company’s

computer systems did not show what customers had been promised, blaming the computer

system for making accounts inaccessible, and threatening that any attempt to cancel service

would result in termination fees.

      8.      Even where CenturyLink representatives might, when pressed, agree to credit

a customer’s account for an improper charge, those credits were routinely rejected by

supervisors and not applied after the fact. Supervisors were incentivized to reject those

credits as their compensation was inversely impacted by credits they approved for

customers.

      9.      As a consequence, CenturyLink now faces dozens of lawsuits accusing it of

consumer fraud, deceptive sales practices, breach of contract, negligent misrepresentation,

fraudulent inducement, and unjust enrichment. Two state attorneys general, from Minnesota

and Arizona, have brought suit against CenturyLink and entered into consent decrees

requiring the Company to immediately cease and desist from engaging in the same conduct

Plaintiffs here have alleged. Additionally, CenturyLink shareholders have brought actions

against the Company for allowing this misconduct and seeking to recover for the negative

impact that misconduct had on the share price.

     10.      Through this amended Class Action Complaint, Plaintiffs seek to recover

damages, injunctive relief, and all other remedies available at equity and law on behalf of

themselves and all other similarly situated current and former CenturyLink customers.




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                                        II. PARTIES

A.       DEFENDANT

CenturyLink, Inc.

        11.    Defendant CenturyLink, Inc. (NYSE: CTL) is a telecommunications

company. It is a Louisiana corporation, headquartered in Monroe, Louisiana.1 The Company

describes itself as “the second largest U.S. telecommunications provider to global enterprise

customers…[w]ith customers in more than 60 countries and an intense focus on the

customer experience.”2 The Company purports to provide communications and data service

to residential, business, governmental, and wholesale customers in 37 states.3

        12.    In Court, counsel for CenturyLink has protested that CenturyLink, Inc. is

improperly named as a defendant in this action, claiming, “CenturyLink, Inc. is a parent

holding company. It’s a public company that issues stock in the New York Stock Exchange.

It does not have any employees. It does not offer any services. It’s inappropriately named.

We are going to need to address those issues, Your Honor.”4

        13.    The facts contradict CenturyLink’s contention and instead show that Plaintiffs

and the Class only communicated to and did business with an entity that represented itself as

CenturyLink.

        14.    The Company has made concerted efforts to emphasize its brand name and to

hold itself out to its customers/class members as CenturyLink.


1 100 CenturyLink Drive, Monroe, LA 71203 (318.388.9000)
2 See https://www.linkedin.com/company/centurylink;
http://www.centurylink.com/aboutus/company-information.html.
3 See http://broadbandnow.com/CenturyLink.
4 Dec. 12, 2017 Hr’g Tr. 29:19-23.

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     15.      The name CenturyLink and its logo are emblazoned across the Company’s

website, where the Company assures customers that it “understands the power of the digital

world is related to our customers’ specific needs.”5

     16.      The Company equates “CenturyLink” with “CenturyLink, Inc.” On its

website, the Company explicitly references the name “CenturyLink” with CenturyLink, Inc.’s

trading symbol. For example, the Company website touts: “CenturyLink (NYSE: CTL) is a

global communications and IT services company focused on connecting its customers to the

power of the digital world.”6

     17.      In response to allegations of CenturyLink’s overcharging and cramming, it was

CenturyLink, Inc.—not some other subsidiary—which hired “independent counsel” to

conduct the investigation and report the results. On December 7, 2017, it issued a press

release confirming—contrary to its counsel’s representations in court—that CenturyLink,

Inc., in fact has: (1) “policies, procedures and practices relating to consumer sales, service,

and billing;” (2) “outside directors;” (3) “employees” and “former employee(s);” (4)

“customers;” (5) “management;” and (6) “products, pricing and promotions.”7

     18.      When other subsidiaries—such as Embarq—have been added to the

Company, the Company has confirmed those subsidiaries will operate “under the corporate

name CenturyLink…” CenturyLink did so to assure its customers that they were dealing




5 See http://www.level3isnowcenturylink.com/en/.
6 See http://ir.centurylink.com/ir-home.
7 See https://www.prnewswire.com/news-releases/centurylink-announces-conclusion-of-

special-committee-investigation-300568194.html.
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with a large, national, public company who would stand behind its word and commit to

linking the country together.8

     19.      The CenturyLink name is on every uniform, truck, envelope, an NFL Stadium,

and confirmed in telephone conversations with its customers. Customers write their checks

to CenturyLink. Plaintiffs and the Class reasonably believed they received representations,

promises, and services from CenturyLink and no one else. And that was the Company’s

intention.9

Doe Defendants

      20.     Doe Defendants 1-100. Plaintiffs at all times did business with the Company

that called itself CenturyLink. To the extent there are any entities other than CenturyLink

who made the promises, representations, and maneuvers complained of herein, they did so

on behalf of CenturyLink and to the customer base that only knew them to be CenturyLink.

Plaintiffs by their own experience have been unable to identify any other defendant other

than CenturyLink that has been engaged in the improper conduct alleged in this Complaint.

Defendant has argued that other entities are the proper parties and responsible in some

manner for the occurrences and acts alleged, and that any damages alleged were proximately

caused by these other entities. If any other entities are liable for the alleged misconduct,

Plaintiffs are unaware of the true names and capacities of those entities sued herein as Does

1 through 100, inclusive, and therefore sue these Defendants by such fictitious names. If

8 CenturyLink, Inc.: Form 8K. June 4, 2009. Exhibit 99.1. Press Release, quoting Glen F.
Post, III, CEO.
9
  See http://www.centurylink.com/aboutus/company-information.html: “CenturyLink
(NYSE: CTL) ….. The company also serves as its customers’ trusted partner…”


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such entities exist, Plaintiffs will amend this Complaint to allege their true names and

capacities when the same is ascertained in discovery. When used herein, the term

“Defendant” is inclusive of CenturyLink, Inc. and DOES 1 through 100.

B.     PLAINTIFFS

      21.     The following Plaintiffs were either CenturyLink customers who were offered

services by the Company, agreed to and paid for those services, and were subject to the

wrongful conduct alleged herein, or individuals who were otherwise billed by the Company.

      22.     Plaintiff Heather Gonsior (“Gonsior”) is a citizen of Oregon, residing in

Portland, Oregon.

      23.     Plaintiff Laurie A. Raymond, Attorney at Law, (“Raymond”) is a citizen of

Oregon with her principal place of business in Portland, Oregon.

      24.     Plaintiff Rebecca Lavelle-Register (“Lavelle-Register”) is a citizen of Oregon,

residing in Portland, Oregon.

      25.     Plaintiff Kathryn O’ Donnell (“O’Donnell”) is a citizen of Oregon, residing in

Portland, Oregon.

      26.     Plaintiff Rebeca Rocha (“Rocha”) is a citizen of Oregon, residing in Portland,

Oregon.

                                III. JURISDICTION AND VENUE

      1.      This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. § 1331. This Court has supplemental jurisdiction over Plaintiffs’ state claims

pursuant to 28 U.S.C. § 1367.




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      2.      This Court also has original jurisdiction over this action under the Class

Action Fairness Act, 28 U.S.C. § 1332(d). This is a class action in which: (1) there are more

than one hundred (100) members in the proposed class; (2) various members of the

proposed class are citizens of states different from where Defendant is a citizen; and (3) the

amount in controversy, exclusive of interest and costs, exceeds $5,000,000.00 in the

aggregate.

      3.      This Court has personal jurisdiction over CenturyLink because it conducts

business in this District and has sufficient minimum contacts in this District. CenturyLink

intentionally avails itself of this jurisdiction by transacting business and deriving substantial

revenues from business activity in this District.

      4.      Venue is proper in this forum pursuant to 28 U.S.C. § 1407 and based upon

Conditional Transfer Orders issued by the Judicial Panel on Multidistrict Litigation in MDL

2795.10 Venue would also be proper pursuant to 28 U.S.C. § 1391 because CenturyLink

transacts business and may be found in this District and because a substantial portion of the

allegations complained of herein, including transactions between CenturyLink and one or

more Plaintiffs, occurred in the District of Minnesota.




10
 The Judicial Panel on Multidistrict Litigation issued Conditional Transfer Orders on
October 5, 2017, October 16, 2017, and October 25, 2017.
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                IV. FACTUAL BACKGROUND COMMON TO ALL CLAIMS

CenturyLink’s Acquisitions Resulted in a Cobbled-Together Operations Platform

        5.    For decades, CenturyLink operated as a small rural telephone operator. In

1989, CenturyLink began a period of aggressive acquisitions to add customers and revenue.11

        6.    Most notable of these acquisitions were the 2009 and 2011 acquisitions of

Embarq Corporation and Qwest Communications International, Inc., respectively, which

gave CenturyLink market presence in 37 states.12




        Figure 1: CenturyLink coverage map after acquiring Qwest Communications
        International, Inc. in 2011.

        7.    Ultimately, CenturyLink’s aggressive acquisition campaign made it the third

largest telecommunications provider in the United States. The Company sells a variety of

products and services to its customers in thirty-seven states, including high-speed internet,



11See http://news.centurylink.com/company-history?cat=3205,
http://news.centurylink.com/company-history?cat=3206, and
http://news.centurylink.com/company-history?cat=3207 (last accessed Jan. 23, 2018).
12See http://news.centurylink.com/company-history?cat=3208 and

http://news.centurylink.com/company-history?cat=3209 (last accessed Jan. 24, 2018).
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local and long distance telephone services, using the local and regional networks it has

acquired over time.13 In its most recent SEC annual filing, CenturyLink reported annual

revenue of $17.47 billion.

       8.      But as CenturyLink expanded, it chose not to adequately invest in

technologies that would integrate the platforms from its various acquisitions into one

cohesive sales and billing system.

       9.      The ongoing corporate decision not to integrate the internal computer systems

has resulted in a byzantine system where it was impossible to uniformly access and share

information across the myriad platforms and computer systems that comprise CenturyLink.

As counsel for Defendant represented to the Court:

        [i]t happens to be the case that these systems have, in many cases, are [sic] not
        combined, and so those of us that have worked for the company for many
        years have been surprised at times to see how difficult it is to retrieve
        information because there is not a push of a button, as one might think there
        is.14

       10.     This admission by CenturyLink is precisely what its customers have

experienced for many years.

       11.     Rather than hindering the Company’s sales, its non-integrated, convoluted

computer systems, comprised of numerous sales, marketing, and billing platforms across the

footprints of CenturyLink’s various acquisitions, actually help the Company generate

revenue. Here’s how.




13 See http://news.centurylink.com/company-history?cat=3209 (last accessed Jan. 23, 2018).
14 Tr. of Initial Status Conference, on Dec. 14, 2017, by CenturyLink counsel, Doug Lobel,
at page 35.
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       12.    When a CenturyLink sales representative needs to quote a price to land a sale,

they may or may not have access to accurate service and pricing data for that customer based

on their geographic location. Despite this limitation, the sales reps are taught to do whatever

it takes to land the sale – namely, quote the best price for the best services, regardless of the

customer’s need or CenturyLink’s ability to provide that service in that location.

       13.    Any conditions required to qualify for the lowest quoted price, such as signing

up for autopay, agreeing to modem rental, or payment of additional fees and taxes, are

routinely omitted from the sales pitch, either because the sales agent wishes to present the

price as low as possible to land the sale or because the system itself does not provide all of

the needed information.

       14.    After the sale, the non-integrated billing system may or may not be able to

recognize the services and price terms offered to and agreed upon by the customer.

       15.    This leads to the rampant practice across CenturyLink of promising one price,

only to have a higher price billed to the customer.

       16.    No sufficient precautions are in place Company-wide to protect customers

from these practices. Even the Company’s own investigation found that its consumer sales

monitoring lacked sufficient safeguards to detect and quantify these unauthorized charges

from being added to customers’ bills.15

       17.    When customers called to dispute their bills, CenturyLink representatives

lacked access to full information about that customer’s account and what services

CenturyLink had previously agreed to provide and at what price. The representatives,

15CenturyLink Press Release. December 7, 2017. “CenturyLink announces conclusion of
Special Committee investigation.”
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therefore, were left to assuage the customer on the fly and in the cheapest way possible,

including by denying the agreed upon price was ever possible, by arguing that there was no

error and convincing the customer to simply accept the charges, or to issue a credit in an

amount small enough to get the customer off the phone.

        18.     CenturyLink’s non-integrated sales and billing systems allowed the Company

to train its sales representatives to quote whatever price was needed to get a sale, regardless

of whether it could ever be provided as promised, and to evade complaining customers

through confusion and deferral. In this way, CenturyLink not only avoided the expense of

integrating its various acquisitions’ systems, but did so with the affirmative knowledge that it

would benefit financially from failing to do so.

CenturyLink Designed its Business Model to Maximize Profits by Overcharging
Customers and Avoiding Accountability

        19.     With access to over 48 million potential customers across 37 states,

CenturyLink has attempted to outbid existing competitors and lure customers by promising

subscribers simple, low rates for its services and products. Yet as countless customers have

experienced, the simple, low rates CenturyLink promises are seldom the actual amount owed

when their bill arrives each month.

        20.     While the Company now offers the option of product bundling to retain or

attract customers, that practice has lowered profit margins. According to the Company,

“While we believe our bundled service offerings can help retain customers, they also tend to

lower our profit margins in the consumer segment due to the related discounts.16



16   CenturyLink, Inc.: Form 10-Q. September 30, 2017 at p 44.
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     21.      To draw in customers, CenturyLink advertises its products and services at

market-competitive prices. Despite these quoted rates, CenturyLink’s unintegrated sales and

billing platforms, coupled with its carefully designed system of promotions, exclusions, and

conditions all but guarantee that those competitive rates will not be honored.

     22.      At the same time, CenturyLink encourages and rewards hyper-aggressive sales

tactics by implementing performance expectations and incentive programs for its sales

representatives.

     23.      These systems and practices are designed to create a situation in which the

customer is guaranteed to lose. On one hand, sales representatives, who have a personal

incentive to open as many accounts as possible, lack the business motivation, technological

ability, and time required to perform appropriate diligence to ensure correct prices are

quoted, exclusions do not apply, and conditions for eligibility are met. On the other,

CenturyLink enables the very sales representatives who are incentivized to maximize

customer account creation to indicate the total number of services the customer signed up

for in the CenturyLink system with the click of a button, without the need for customer

review or approval.

     24.      The foreseeable result has been that countless CenturyLink customers were,

and continue to be, promised lower prices than they were ultimately charged or charged for

services never agreed to, or both.

     25.      CenturyLink is not only aware of such practices, it promotes those practices

through its employee compensation scheme. Rather than rectifying such mistakes or

refunding any monies in excess of what customers agreed to pay, CenturyLink doubles down


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and, if customers reject whatever “workaround” the Company is willing to offer, it either

charges a termination fee or sends disputed amounts to collections.

CenturyLink Quoted Deceptive and Misleading Prices

         26.   Plaintiffs and the Class purchased CenturyLink’s services based on the

Company’s deceptive representations and promises.

         27.   CenturyLink advertises the products and services it sells in various media,

including television, newspapers, the internet, and flyers left at consumers’ homes.

         28.   CenturyLink promoted fixed monthly rates for certain stand-alone and

bundled services, including high-speed internet and local and long distance telephone

services. While the Company routinely promoted its simple, low rates to customers, it was

fully aware that those low rates would not be delivered.

         29.   Plaintiffs’ experiences, alleged in detail below, highlight a pervasive pattern of

CenturyLink quoting one price at the point of sale, only to charge a higher price during

billing.

         30.   CenturyLink’s improper overcharging of quoted prices has been further

explained as a result of an investigation and ongoing litigation by the Attorney General for

the State of Minnesota (“Minnesota AG”).17

         31.   That investigation showed that CenturyLink’s “overview” pricing documents

revealed a complex and elaborate pricing system where thousands of conditions, exceptions,

and exclusions affected rates charged to customers.



17 SeeState of Minnesota v. CenturyTel Broadband Services et al., No. 02-CV-17-3488 (Anoka Cty.
Dist. Ct. July 12, 2017).
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      32.      These pricing policies revealed that, despite the straightforward prices

CenturyLink advertised to its customers and offered on sales calls, its true base rates are

contingent upon several undisclosed factors, including, but not limited to, the speed of the

customer’s internet connection, the presence or absence of CenturyLink email service, and

the manner in which CenturyLink connects a customer’s home to the internet.

      33.      CenturyLink has also admitted that the prices quoted to customers were

actually often subject to numerous conditions and exceptions that were undisclosed to the

customer. In fact, each quoted price includes a matrix of complex and subtle information,

including further actions the customer must take—or cannot take—after their purchase to

actually obtain the quoted price.

      34.      CenturyLink’s non-integrated sales and billing platforms, high pressure sales

quotas, and call time maximums made it all but certain that the rate quoted to customers

would not be the billed rate. This is particularly true in light of the fact that CenturyLink fails

to disclose the various conditions, exclusions, and exceptions at the point of sale. In fact,

CenturyLink has taken the position with the Minnesota AG that its prices are a “trade

secret” that need not and cannot be disclosed to customers.

      35.      Thus, when CenturyLink offered Plaintiffs and the Class goods and services at

certain prices, it knew that it could not deliver them for certain.

      36.      CenturyLink knew or had reason to know that customers in a competitive

market base their choice of telecommunications services on the quoted price, and that

customers rely on the prices quoted to them.




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CenturyLink Promoted Overbilling Customer Accounts with Unauthorized Charges

     37.      In addition to deceptively quoting prices to customers, CenturyLink

incentivized its sales representatives to bill customer accounts with unauthorized charges.

     38.      CenturyLink’s hyper-aggressive sales requirements and compensation

structure created an environment where its sales representatives were excessively

incentivized to add unauthorized products, services, and charges to customers’ accounts

while enabling them to input such charges into CenturyLink’s system with the click of a

button.

     39.      Specifically, CenturyLink tied its sales representatives’ and their supervisors’

compensation and job security to revenue generation, requiring them to meet unrealistic

quotas or face termination.

     40.      As a result, customers were routinely billed for charges that were neither

disclosed, authorized, nor warranted.

     41.      For example, CenturyLink routinely charged internet service customers for

modems that had not been requested or that had been properly returned.

     42.      CenturyLink also added unauthorized charges, such as insurance, “internet

cost recovery fees,” and termination fees to customers’ accounts. In addition, CenturyLink

charged its customers for services that were never ordered, were canceled, or where

customers were not receiving CenturyLink’s services during specific periods of time.

     43.      Plaintiffs’ allegations are supported by a recent whistleblower’s complaint

against CenturyLink.




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       44.    In 2017, a former CenturyLink employee, Heidi Heiser, filed a whistleblower

complaint alleging that she was terminated as a sales representative for refusing to take part

in the Company’s unlawful billing practices.18

       45.    Heiser alleged that CenturyLink imposed performance requirements, sales

quotas, and call time maximums on its sales representatives while simultaneously authorizing

its sales representatives to falsely indicate what terms a customer purportedly agreed to. This

led sales representatives to add additional products or services to customers’ accounts

without the customers’ knowledge or consent.

       46.    According to her complaint, Heiser “learned from her work that the system

and practices used by CenturyLink with its sales and other agents allowed persons who had a

personal incentive to add services or lines to customer accounts to falsely indicate on the

CenturyLink system the approval by a customer of new lines or services, which would then

inure to the direct or indirect benefit of such CenturyLink agents or their superiors” and that

the “additional lines or services resulted in additional charges not authorized by the

customer.”

       47.    Any unauthorized charges crammed onto customer accounts could not be

known to customers until after their bills arrived and, even then, could be difficult to detect.

CenturyLink therefore put the onus on its customers to detect its mischarges and verify the

accuracy of CenturyLink’s invoices, challenging them to locate and dispute wrongful charges

and prove what they agreed to.



18See Heiser v. CenturyLink, Inc., No. CV2017-008928 (Maricopa Cty. Super. Ct. June 14,
2017) (hereinafter “Heiser” or “Heiser Complaint”).
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     48.      CenturyLink was at all times not only aware that sales representatives were

adding improper charges to customer accounts, but condoned the behavior. Sales

representatives, such as Heiser, who reported unlawful conduct to their superiors and

management were disregarded or punished. Such reports did nothing to change the culture

of CenturyLink’s boiler room style business model.

CenturyLink Minimized or Denied Customer Complaints

     49.      CenturyLink’s business model involved not only deliberately overcharging

customers’ accounts but also keeping the ill-gotten revenue in house after it was obtained.

This meant that complaining customers were subjected to stringent practices imposed by the

business model.

     50.      CenturyLink had policies for dealing with customers who disputed their

wrongful invoices. As a general matter, the Company trained its sales representatives to

“park the need and plant the seed.” This meant ignore the customer’s problem, or “park” it,

and move to selling them something more (or for longer), or do whatever necessary to keep

that customer’s revenue in-house.

     51.      To prevent sales representatives from taking the time needed to properly

investigate and remedy wrongful invoices, CenturyLink imposed mandatory call time

maximums (called “Average Handling Times” or “AHTs”) of only a few minutes. Sales

representative who violated these AHTs when trying to address customer concerns were

punished, up to and including termination.

     52.      CenturyLink also based compensation for sales representatives and their

supervisors on how many account credits were issued and services canceled. For example,


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sales representatives were authorized to issue credits to customer accounts for things such as

properly returned modems, time without service, or for overcharges. However, supervisors

were required to approve any credit exceeding a certain amount, and CenturyLink docked

those supervisors’ compensation based on the amount of credits approved. This led to

supervisors routinely reducing or denying credits that had been properly issued by sales

representatives.

     53.      But credits were a last resort. The Company trained its sales staff to explain

away overcharges and take aggressive measures to keep the revenue in house by telling

customers that the system did not reflect the price the customer claimed they were entitled

to; that the system indicated a modem had not been returned; that the price the customer

was quoted was impossible; and other excuses.

     54.      According to the whistleblower Heiser, in her experience, customers who

complained about unauthorized charges were simply told that Company records indicated

the customer did in fact agree to the charges, and it was the customer’s word against

CenturyLink’s.

     55.      The Minnesota AG also reported that when customers complained of being

overcharged, CenturyLink would inform the customer that they had been “misquoted” or

that “no one at CenturyLink can get you that price.” One CenturyLink employee admitted

that “maybe 1 out of 5 [customers] are quoted correctly or close enough” and that “in many

cases, the customer calls in for several months and promised callbacks, [is] passed around, or

cut off before going to” various consumer protection agencies.




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       56.     If a customer was fed up enough to cancel their service because of

CenturyLink’s improper sales and billing practices, the Company would charge the customer

a previously undisclosed “early termination fee.”

       57.     Even worse, CenturyLink routinely sent customers to collections for refusing

to pay unlawful overcharges.

       58.     These practices reflect CenturyLink’s deliberate practice of keeping as many

customers on the hook for improper charges as possible rather than fulfilling its duty to bill

customers according to the price and terms promised.

Regulatory Authorities Have Targeted These Practices as Unlawful, Harmful, and
Nationally Pervasive

       59.     The uniform misconduct Plaintiffs have alleged is not a figment of their

imagination, nor is it a collection of isolated incidents. In fact, the Federal Communications

Commission (“FCC”) is currently confronting the pervasive practice of cramming. The

Arizona Attorney General and the Minnesota Attorney General have also challenged

CenturyLink over the Company’s deceptive sales and billing practices, and have entered into

consent decrees requiring CenturyLink to cease and desist engaging in the misconduct.

A.      Federal Regulators

       60.     The FCC has identified the need to reform hyper aggressive, boiler room-type

sales operations in the telecommunications industry. Specifically, the FCC has focused on

curtailing “cramming” in the telecommunications industry, which it defines as the placement

of unauthorized charges on a consumer’s bill.19 The FCC has described cramming as a


19See FCC Fact Sheet, In the Matter of Protecting Consumers from Unauthorized Carrier Charges and
Related Unauthorized Charges, CG- Docket No. 17-169 (available at
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longstanding and “continuing problem” for consumers across the country, requiring the

“need for increased consumer protection.”20

     61.      In a comment to the FCC’s October 2017 Notice of Proposed Rulemaking,

the Communications Worker of Americas (“CWA”), a labor union representing 75,000 sales

and service employees in the telecommunications industry—including CenturyLink’s

employees—spoke out against boiler room-type sales models and their relationship to

customer abuses. According to the CWA:

       Companies that impose unrealistically high sales quotas on sales and service
       representatives are responsible for driving unethical sales practices. Certainly,
       that was the conclusion reached by the Consumer Financial Protection Bureau
       in its investigation of Wells Fargo’s infamous fraudulent account scandal….
       Similar to Wells Fargo, many telecommunications carriers have adopted
       unrealistically high sales quotas, incentive pay compensation plans, and
       performance management systems that force sales and service representatives
       to engage in unethical sales practices in order to meet the quotas or earn sales
       incentives. Aggressive performance management systems discipline sales
       employees for failure to make the sales quota and revenue benchmarks. 21
       Typically, failure to meet sales quotas for three time periods can lead to

https://apps.fcc.gov/edocs_public/attachmatch/DOC-345475A1.pdf)(last visited February
12, 2018).
20 Id. at 3. State attorneys general have confirmed that cramming violates state consumer

protection laws. See e.g., Arizona Attorney General website (“Cramming is the illegal
practice of adding features to your existing service and charging for them on your cell phone
or landline bill without your permission. Both are illegal under Arizona's Consumer Fraud
Act:”) https://www.azag.gov/consumer/slam-cram; In the Matter of Qwest Corporation,
d/b/a/ CenturyLink QC, No. CV2016-002842 (Maricopa Cty. Super. Ct. Apr. 4, 2016)
(confirming future violations will violate Arizona Consumer Fraud Act).
21 See, In the Matter of Wells Fargo Bank, Consumer Financial Protection Bureau, Consent Order

(Sept. 8, 2016). Available at:
http://files.consumerfinance.gov/f/documents/092016_cfpb_WFBconsentorder.pdf See
also, “Consumer Financial Protection Bureau Fines Wells Fargo $100 Million for Widespread
Illegal Practice of Secretly Opening Unauthorized Accounts,” Consumer Financial
Protection Bureau, press release (Sept. 8, 2016) Available at:
https://www.consumerfinance.gov/about-us/newsroom/consumer-financial-protection-
bureau-fines-wells-fargo-100- million-widespread-illegal-practice-secretly-opening-
unauthorized-accounts/.
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         termination. The constant pressure to sell privileges sales over attention to
         quality customer service and leads to high rates of stress-related illness for
         employees.”22

B.       State Attorneys General Investigations and Related Consent Decrees

        62.        The Arizona Attorney General asserted allegations of deceptive sales and

billing practices against CenturyLink that were fundamentally similar to those asserted by

Plaintiffs here.

        63.     On April 6, 2016, CenturyLink entered into an Assurance of Discontinuance

with the Arizona Attorney General relating to that conduct.23

        64.     Among other things, the Assurance of Discontinuance required CenturyLink

to:

         a.     Comply with the Arizona Consumer Fraud Act;

         b.     In response to customer orders, provide a written confirmation within three

         business days setting forth all material terms and conditions applicable to the

         customers’ order, free from additional advertisements;

         c.     Investigate customer allegations of overcharging rather than sending a

         customer’s account to an outside collection agency, until such investigation is

         complete;

         d.     Refrain from misrepresenting the speed of internet service available;


22 Reply Comments of Communications Works of America, In Matter of Protecting Consumers
from Unauthorized Carrier Charges and Related Unauthorized Charges, CG- Docket No. 17-169,
October 13, 2017 (available at
https://ecfsapi.fcc.gov/file/10132178310677/CWA%20Reply%20Comments%20-
%20Slamming%2C%20cramming%20-%2010-2017.pdf).
23 See In the Matter of Qwest Corporation, d/b/a/ CenturyLink QC, No. CV2016-002842

(Maricopa Cty. Super. Ct. Apr. 4, 2016).
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       e.      Process a customer’s service cancellation request within three business days;

       and

       f.      Provide a summary of this Assurance of Discontinuance to all employees and

       third parties who perform customer sales or service functions for CenturyLink in the

       State of Arizona.

      65.      Similarly, on July 12, 2017, the Minnesota Attorney General filed a complaint

against CenturyLink for its unlawful sales and billing practices involving similar allegations as

Plaintiffs have raised here.

      66.       On October 23, 2017, CenturyLink entered into a Stipulated Order with the

Minnesota Attorney General. Among other things, CenturyLink agreed to:

            a. Not make any false statement of material fact or omit any material fact in

               connection with the sale of internet and/or television services to Minnesota

               consumers; and

            b. Provide, at the time of sale:

               i.      The monthly base price of the services purchased;

               ii.     The amount of each monthly recurring fee in addition to the monthly

                       base price;

               iii.    The amount of monthly access recovery charges;

               iv.     All one-time fees charged to the initial bill;

               v.      The amount of the first invoice;

               vi.     Recurring total costs;

               vii.    Total duration of the agreement; and


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                  viii.     Any restrictions or conditions on a consumer’s ability to receive the

                            quoted price.


         67.      The Minnesota Attorney General’s action remains ongoing in Anoka County

District Court as of the date of this amended Class Action Complaint.

         68.      Despite entering into these Agreements with the Arizona and Minnesota

Attorneys General, CenturyLink has failed to make its customers whole for overcharges and

unauthorized fees and, upon information and belief, continues to engage in this same

misconduct.

                          V. PLAINTIFFS’ EXPERIENCES WITH CENTURYLINK

Heather Gonsior

         69.      Plaintiff Heather Gonsior (“Gonsior”) has been a CenturyLink customer for

years.

         70.      On March 5, 2016, CenturyLink sent two salespeople to Gonsior’s door to sell

her on its new fiber optic service.

         71.      CenturyLink stated that by signing up for its new bundled deal, which

included fiber service, her existing monthly rates would not be affected for an additional 12

months.

         72.      Gonsior agreed to extend her CenturyLink service and signed up for the

bundled fiber optic service pursuant to her previous contract’s pricing.

         73.      When her bill arrived, Gonsior was charged more than double the price of her

previous bills.



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      74.        Gonsior called CenturyLink to complain and cancel her services. CenturyLink

responded that is she tried to cancel her subscription prior to the 12 months she agreed to, it

would charge her a $240 termination fee.

      75.        Had Gonsior known of the $240 termination fee, she would not have agreed

to a new fiber bundled service with CenturyLink. Gonsior has spent considerable time on

the phone trying to reduce her bills. CenturyLink has refused to honor the originally quoted

price and continues to overcharge her each month.

Laurie A. Raymond, Attorney at Law

      76.        Plaintiff Laurie Raymond (“Raymond”) has been a customer of CenturyLink

and is the sole proprietor of a family law practice in Portland, Oregon.

      77.        Prior to June 2015, Raymond was a CenturyLink telephone services customer.

      78.        In June 2015, CenturyLink sent Raymond a solicitation by mail asking her to

give them feedback on her current telephone services. When Raymond called, the sales

representative informed her that her monthly cost could be lowered to approximately $128

per month if she signed up for a telephone and internet bundle. Raymond informed the

representative that she did not need internet service as she already had it with another

company. The representative informed Raymond that she could put it on her account to

lower her rate and she could choose not to use the internet service. Raymond did not agree

to this offer.

      79.        Three days later, CenturyLink technicians arrived at Raymond’s law practice

with a modem she did not authorize or require. When Raymond received her bill, the




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monthly rate was approximately $22 more than she had been offered, and she was also

assessed a monthly fee for the CenturyLink modem she did not request, use, or authorize.

      80.      Each time Raymond called CenturyLink to complain, the representatives gave

a different excuse for the unauthorized charge and refused to correct the billing. For four

months, Raymond refused to pay the bill and sent monthly complaints and letters to

CenturyLink about its deceptive practices.

      81.      CenturyLink then informed Raymond that they would be cutting off her

telephone service if she did not pay her bill. Raymond then informed CenturyLink’s

representative of its overbilling and was informed that CenturyLink would not cut off her

service while it investigated the issue.

      82.      A few days later, CenturyLink shut off Raymond’s telephone service for non-

payment. Raymond needed her business phone, and paid approximately $2,000 to

CenturyLink to get the business telephone lines reconnected and running.

      83.      Raymond’s efforts to obtain a refund of CenturyLink’s unlawful charges have

been unsuccessful despite numerous phone calls and complaints.

      84.       As a result of CenturyLink’s misconduct, Raymond has been damaged and

incurred financial loss in an amount to be determined at trial.

Rebecca Lavelle-Register

      85.      Plaintiff Rebecca Lavelle-Register (“Lavelle-Register”) has been a CenturyLink

customer and lives in Portland, Oregon.

      86.      In approximately September 2015, CenturyLink sent door to door sales

representatives to Lavelle-Register’s residence. Based on CenturyLink’s promises of lower


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rates than she was currently paying, Lavelle-Register signed up for CenturyLink’s new fiber

internet services.

      87.      When Lavelle-Register received her first bill, it was approximately $10 more

than CenturyLink’s sales representatives had promised.

      88.      Lavelle-Register’s account was on auto-pay so she did not notice the

overbilling immediately. When she did notice the overcharge, Lavelle-Register called

CenturyLink and was informed that they would fix the billing. However, when she received

the following month’s bill, CenturyLink had not done what they promised.

      89.      Lavelle-Register has called CenturyLink at least every other month to have

them correct its overbilling. She has spent a significant amount of time on the phone with

various CenturyLink representatives explaining and disputing unauthorized charges.

However, CenturyLink has only partially credited her for the overbilled amounts.

      90.      As a result of CenturyLink’s misconduct, Lavelle-Register has been damaged

and incurred financial loss in an amount to be determined at trial.

Kathryn O’Donnell

      91.      Plaintiff Kathryn O’ Donnell (“O’Donnell”) has been a CenturyLink customer

and lives in Portland, Oregon.

      92.      In 2014, O’Donnell signed up for CenturyLink internet service for a 24 month

term, at an agreed rate of $30.94 per month for the first 12 months. Within a couple of

months, CenturyLink increased her rate to $35.94. After 12 months, her rates increased to

between $65.99 and $67.99.




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     93.      In March 2017, CenturyLink representatives solicited O’Donnell at her

residence, promising her that if she switched to CenturyLink’s new fiber internet, her

monthly rate would be $20-30 per month. O’Donnell agreed and switched to CenturyLink’s

fiber internet in June 2017.

     94.      Thereafter, CenturyLink broke its promise and billed O’Donnell between $65

and $79 per month for fiber internet, with the charges constantly varying.

     95.      When O’Donnell disputed the charges to CenturyLink, it informed her that

she was in a minimum term agreement and that the only way she could lower her monthly

rate was to downgrade her service. O’Donnell agreed to downgrade her service because she

did not know what else to do.

     96.      As a result of CenturyLink’s misconduct, O’Donnell has been damaged and

incurred financial loss in an amount to be determined at trial.

Rebeca Rocha

     97.      Plaintiff Rebeca Rocha (“Rocha”) has been a CenturyLink customer and lives

in Portland, Oregon.

     98.      Rocha first signed up for CenturyLink’s internet service in August 2015.

     99.      In April 2016, Rocha moved to a new area. She contacted CenturyLink and

was informed that CenturyLink did not offer service in her new area. CenturyLink informed

Rocha that she could cancel her account without any termination fees. Rocha then returned

her modem via mail to CenturyLink.

     100.     Rocha later received a collections notice stating that she owed CenturyLink

$99.99 for the modem she had properly returned.


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     101.      As a result of CenturyLink’s misconduct, Rocha has been damaged and

incurred financial loss in an amount to be determined at trial.

                                  VI. CLASS ALLEGATIONS

     102.      This action is brought, and may be properly maintained, as a class action

under Rule 23 of the Federal Rules of Civil Procedure. All requisite elements of Fed. R. Civ.

P. 23(a), 23(b)(2), and 23(b)(3) are satisfied; there is a well-defined community of interests in

the litigation; the proposed Class and any subclass are ascertainable; and a single class action

is the superior manner to proceed when compared to the joinder of hundreds of thousands

of plaintiffs or tens of thousands of individual cases challenging the same practices.

     103.      Plaintiffs bring this action individually on behalf of themselves, and in a

representative capacity on behalf of the Class and Subclass defined below, for which

Plaintiffs are members, under Rule 23(a), 23(b)(2), and 23(b)(3) of the Federal Rules of Civil

Procedure seeking damages, restitution, injunctive and declaratory relief pursuant to the

applicable laws set forth in the state law counts below. The Class is defined as:

       All persons or entities in the United States who, during the Class Period, had
       an account for telephone or internet services with Defendant.

     104.      Within the Class is an Oregon state Subclass. The Subclass is defined as

follows:

             Oregon Subclass: All persons or entities who, during the Class
              Period, had an account for telephone and/or internet services with
              Defendant in the State of Oregon (“Oregon Subclass” or “Oregon
              Subclass Member(s)”).


     105.      The Class Period for the Class and Subclass dates back to the longest

applicable statute of limitations for any claims asserted on behalf of that Class or Subclass

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from the date this action was commenced and continues through the present and to the date

of judgment.

     106.      Excluded from the Class and Subclass is Defendant, its current employees, co-

conspirators, officers, directors, legal representatives, heirs, successors and wholly or partly

owned subsidiaries or affiliated companies; the undersigned counsel for Plaintiffs; and the

judge and court staff to whom this case is assigned. Plaintiffs reserve the right to amend the

definition of the Class or Subclass if discovery or further investigation reveals that they

should be expanded or otherwise modified.

     107.      This action satisfies the predominance, commonality, typicality, numerosity,

superiority, adequacy, and all other requirements of Rule 23 of the Federal Rules of Civil

Procedure.

              Numerosity: Each proposed Class and Subclass is so numerous that the

                individual joinder of all members is impractical under the circumstances of

                this case. Each proposed Class and Subclass consists of at least tens of

                thousands of Defendant’s customers. This is shown, inter alia, by the state

                coverage        statistics      Century         Link        publishes        on

                https://www.highspeedinternet.com/providers/centurylink.The widespread

                and pervasive impact of the challenged practices on Defendant’s customers

                is shown, inter alia, by the Minnesota and Arizona Attorney General

                investigations and complaints; the statements of former CenturyLink

                employees, and other customer complaints. While the exact number of Class

                members and Subclass members is currently unknown, Plaintiffs are

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               informed and believe, and thereon allege, that thousands of customers

               across the country and in each state CenturyLink operates have been

               victimized by CenturyLink’s practices, in the manner described above.

             Commonality: Common questions of law and fact exist as to all members

               of the Class and Subclass, and predominate over any questions that affect

               only individual members of the Class and Subclass. The practices at issue

               are not isolated incidents but instead are widespread, common, and

               systematic practices affecting large groups of Defendant’s customers in each

               applicable state, as shown, inter alia, by the Attorney General actions brought

               against Defendant in Arizona and Minnesota, as well as other complaints

               and customer accounts.24 The common questions of law and fact include,

               but are not limited to:

                   i.    Whether Defendant charged Plaintiffs and the Class more than
                         agreed upon prices;

                   ii.   Whether Defendant made misrepresentations or omissions of
                         material fact about its quoted monthly prices and the nature of its
                         telecommunications services and billings;

                  iii.   Whether Defendant breached implied or explicit contractual
                         obligations to its subscribers or deceptively billed for services not
                         being offered, not contemplated, or not agreed upon;

                  iv.    Whether Defendant breached the implied covenant of good faith
                         and fair dealing made part of all contracts;


24See e.g., Ramos v. Qwest Corp dba CenturyLink, No. 16-cv-05642 (W.D. Wash.); See also,
https://www.complaintboard.com/centurylink-l3215.html;
https://www.reddit.com/r/Denver/comments/2s8ei5/illegitimate_collections_attempt_for
_cancelled/; https://creditboards.com/forums/index.php?showtopic=542494;
http://www.dslreports.com/forum/r28909565-being-charged-for-modem-i-returned.
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             v.    Whether Defendant added unauthorized charges to Plaintiffs’ and
                   Class members’ accounts;

            vi.    Whether Defendant opened or maintained duplicate or multiple
                   unauthorized accounts in its customers’ names;

           vii.    Whether Defendant maintained incentive programs which
                   encouraged employees and agents to overcharge Class members for
                   services Class members did not order or approve;

           viii.   Whether Defendant failed to provide safeguards to prevent the
                   misconduct at issue;

            ix.    Whether Defendant engaged in a practice or act with intent to sell,
                   distribute, increase the consumption of its services, or with intent
                   to induce the public in any manner to enter into any contract or
                   obligation relating to its services, made, published, disseminated,
                   circulated or otherwise placed before the public an advertisement,
                   announcement, statement or representation of any kind to the
                   public relating to such services or to the terms or conditions
                   thereof, which advertisement, announcement, statement or
                   representation contains any assertion, representation or statement
                   of fact which is untrue, deceptive, or misleading;

             x.    Whether Defendant maintained a policy of shifting responsibility to
                   its customers to discover overcharges as opposed to billing and
                   collecting fees from consumers accurately and in good faith;

            xi.    Whether Defendant engaged in a practice or act that it knew or
                   reasonably should have known to be an unfair practice, deception,
                   fraud, false pretense, or false promise, or the misrepresentation,
                   concealment, suppression, or omission of a material fact related to
                   the advertisement, sale, or lease of equipment and telephone and
                   internet services;

           xii.    Whether Defendant intended to cause confusion or
                   misunderstanding among consumers regarding the prices of its
                   telecommunications services and whether Defendant intended not
                   to honor its offered prices;

           xiii.   Whether Defendant has been unjustly enriched;




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            xiv.   Whether Plaintiffs and the Class were harmed and suffered
                   damages as a result of Defendant’s conduct and, if so, the
                   appropriate amount thereof; and

            xv.    Whether, as a result of Defendant’s misconduct, Plaintiffs and the
                   Class are entitled to equitable relief, and if so, the nature of such
                   relief.

        Typicality: Plaintiffs’ claims are typical of the claims of the members of the

          Class and Subclass to which they belong. All Plaintiffs are members of the

          Class, as well as the respective Subclass for the state in which they reside.

          Plaintiffs were subjected to Defendant’s common business practices,

          described above, and assert common legal claims that are typical of those of

          the Class and Subclass.     Plaintiffs and the members of the Class and

          Subclass sustained damages arising out of Defendant’s wrongful and

          deceptive conduct as alleged herein, and face the risk of further harm unless

          enjoined. Resolution of the common issues presented in Plaintiffs’ cases will

          resolve them in a common and typical manner for other members of the

          Class and Subclass.

        Adequacy of Representation: Plaintiffs and the undersigned counsel will

          fairly and adequately protect the interests of the Class members. Plaintiffs

          are knowledgeable about their claims and practices complained of; are

          prepared to prosecute the claims in the best interests of the Class and

          Subclass; have no interest that is adverse to the interests of the other

          members of the Class and Subclass; and have hired counsel experienced in

          class actions and complex litigation to represent the Class and Subclass. The

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               undersigned counsel are sufficiently experienced in complex litigation; are

               prepared to prosecute this action in the best interest of the Class and

               Subclass; and have no conflicts with the members of the Class or Subclass.

             Superiority: A class action is superior to other available means for the fair

               and efficient adjudication of this controversy. Because individual joinder of

               all Class members is impracticable, class action treatment will permit many

               similarly situated persons to prosecute their common claims in a single

               forum simultaneously, efficiently, and without unnecessary duplication of

               effort and expense that numerous individual actions would engender. The

               expenses and burdens of individual litigation would make it difficult or

               impossible for individual members of the Class and Subclass to redress the

               wrongs done to them, while important public interests will be served by

               addressing the matter as a class action. The cost to, and burden on, the court

               system by adjudicating individualized litigation would be substantial, and

               significantly more than the costs and burdens of a class action. Class

               litigation will also prevent the potential for inconsistent or contradictory

               judgments.

     108.     A Class should also be certified under Fed. R. Civ. P. 23(b)(2). Defendant has

acted or refused to act on grounds generally applicable to the Class and Subclass, making

appropriate final injunctive relief or corresponding declaratory relief with respect to the

Classes.




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     109.      In the alternative, this Class and Subclass may be certified under Fed. R. Civ.

P. 23(c)(4) with respect to particular issues.

                                   VII. CLAIMS FOR RELIEF

                                      COUNT I
             VIOLATIONS OF 47 U.S.C. §§ 201, et seq. and 47 C.F.R. § 64.2401

                              (On Behalf of All Class Members)


     110.      Plaintiffs reallege and incorporate each allegation contained in the preceding

paragraphs of this Complaint as though fully set forth herein.

     111.      CenturyLink is a common carrier engaged in interstate communication by wire

for the purpose of furnishing communication services as defined in 47 U.S.C.§ 201(a) of the

Federal Communications Act (“Communications Act”).

     112.      Carriers are responsible for the conduct of third parties acting on the carrier’s

behalf, See 47 U.S.C. § 217 (“In construing and enforcing the provisions of this chapter, the

act, omission, or failure of any officer, agent, or other person acting for or employed by any

common carrier or user, acting within the scope of his employment, shall in every case be

also deemed to be the act, omission, or failure of such carrier or user as well as that of the

person.”).

     113.      Section 201(b) of the Communications Act prohibits “unjust” and

“unreasonable” practices “in connection with such communication service.” At all times

relevant hereto, 47 U.S.C.§ 201(b), provided, in relevant part, as follows:

       All charges, practices, classifications, and regulations for and in connection
       with such communication service [i.e., interstate or foreign communication by
       wire or radio], shall be just and reasonable, and any such charge, practice,


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       classification, or regulation that is unjust or unreasonable is declared to be
       unlawful…

     114.     CenturyLink’s practice of billing and collecting unauthorized charges from

Plaintiffs and the Class is neither just nor reasonable and is, in fact, unjust and unreasonable,

and violates 47 U.S.C. § 201,.

     115.     At all times relevant hereto, 47 C.F.R. § 64.2401, entitled “Truth-in-Billing

Requirements,” provided, in relevant part, as follows:

       (b) Descriptions of billed charges. Charges contained on telephone bills must
       be accompanied by a brief, clear, non-misleading, plain language description of
       the service or services rendered. The description must be sufficiently clear in
       presentation and specific enough in content so that customers can accurately
       assess that the services for which they are billed correspond to those that they
       have requested and received, and that the costs assessed for those services
       conform to their understanding of the price charged…

       (d) Clear and conspicuous disclosure of inquiry contacts. Telephone bills must
       contain clear and conspicuous disclosure of any information that the
       subscriber may need to make inquiries about, or contest, charges on the bill.

     116.     The charges contained on CenturyLink’s bills were not accompanied by “clear,

non-misleading, plain language description of the service or services rendered” nor did they

“contain clear and conspicuous disclosure of any information that the subscriber may need

to make inquiries about, or contest, charges on the bill,” in violation of 47 C.F.R. § 64.2401.

     117.     CenturyLink is liable to Plaintiffs and the Class for damages and attorneys’

fees, pursuant to 47 U.S.C. § 206, which provides as follows:

       In case any common carrier shall do, or cause or permit to be done, any act,
       matter, or thing in this chapter prohibited or declared to be unlawful . . . such
       common carrier shall be liable to the person or persons injured thereby for the
       full amount of damages sustained in consequence of any such violation of the
       provisions of this chapter, together with a reasonable counsel or attorney’s fee
       ...


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     118.      As a direct and proximate result of CenturyLink’s violations, Plaintiffs and

the Class suffered damages, and pursuant to 47 U.S.C. § 207 are entitled to recover, as

follows:

       Any person claiming to be damaged by any common carrier subject to the
       provisions of this chapter may . . . bring suit for the recovery of the damages
       for which such common carrier may be liable under the provisions of this
       chapter, in any district court of the United States of competent jurisdiction. . .

     119.     488. As a result of the foregoing, Plaintiffs and the Class are entitled to,

among other things, compensatory damages, restitution, an accounting, and all other relief

deemed just and equitable by the Court.

                                       COUNT II
                                  BREACH OF CONTRACT

                             (On Behalf of All Class Members)


     120.     Plaintiffs reallege and incorporate each allegation contained in the preceding

paragraphs of this Complaint as though fully set forth herein.

     121.     Plaintiffs and each member of the Class received an offer for services from

Defendant, agreed to pay, and did pay Defendant for the provision of services and products

at agreed upon costs. In doing so, Plaintiffs and each member of the Class entered into a

contract with Defendant.

     122.     Defendant expressly and/or impliedly agreed to bill and collect only for

authorized charges.

     123.     Defendant breached these obligations by billing and collecting more than

agreed upon, billing for unauthorized charges, and by providing bills that were unclear and

misleading.

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     124.     Defendant’s acts, imposing unauthorized charges on Class members’ accounts,

were intentional and willful.

     125.     Defendant routinely overcharged Plaintiffs and the Class in breach of their

offers and contracts, implied or express. Defendant failed to deliver telephone or internet

services and related products at the promised price. Plaintiffs and Class members were

charged excessive amounts that they did not agree to pay.

     126.     Alternatively or additionally, Plaintiffs and Class members were charged for

services or products that they did not purchase or had properly canceled.

     127.     Alternatively or additionally, Plaintiffs and Class members were charged

improper termination fees, or were charged for products they had returned, or had accounts

prematurely sent to collections when they refused to pay wrongful fees.

     128.     Plaintiffs and Class members paid Defendant for these services or products

and in all other respects performed or substantially performed their obligations under the

contracts. Defendant was not authorized or justified in charging Plaintiffs and the Class for

unauthorized amounts.

     129.     An implied covenant of good faith and fair dealing is part of all contracts.

Defendant breached its contractual obligation of good faith and fair dealing, implied in all

contracts, by billing and collecting for unauthorized charges.

     130.     Defendant’s conduct in breaching the contracts in the above-described

manner was not isolated but was rather systematic, pervasive, persistent, and a direct result

of business policies and practices implemented to maximize Defendant’s revenue.




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     131.     Plaintiffs and the Class were injured, harmed, and incurred financial loss by

way of Defendant’s above-described conduct in amounts to be determined at trial.

     132.     Plaintiffs and the Class did not voluntarily pay the unauthorized charges in

dispute. At the time it occurs, most consumers are unaware that they have been subjected to

unauthorized charges and/or have been a victim of cramming. When Plaintiffs discovered

the billings they protested and demanded refunds, including through this action. Further,

Plaintiffs were under duress to pay the improper amounts on threat of having their essential

services cancelled and/or interrupted.

     133.     As a result of the foregoing, Plaintiffs and the Class are entitled to, among

other things, compensatory damages and all other relief deemed just and equitable by the

Court.

                                  COUNT III
                BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING

                       (On Behalf of Oregon Subclass Members)
     134.     Plaintiffs reallege and incorporate each allegation contained in the preceding

paragraphs of this Complaint as though fully set forth herein.

     135.     This count is asserted by members of the Oregon Subclass (“Count III

Subclass”).

     136.     The laws of these states recognize that a separate duty of good faith and fair

dealing arises out of a contractual relationship, the breach of which is a separate tort

independent from any corresponding breach of contract.




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     137.      The implied covenant of good faith and fair dealing prohibits a party from

acting in a manner to prevent other parties to the contract from receiving the benefits and

entitlements of the agreement.

     138.      Defendant expressly and/or impliedly agreed to bill and collect only for

authorized charges and for agreed upon prices, and expressly and/or impliedly agreed to

provide clear and non-misleading phone bills.

     139.      Defendant breached these obligations by billing and collecting unauthorized

charges, by charging more than agreed upon, and by providing telephone bills that were

unclear and misleading.

     140.      Defendant’s acts imposing unauthorized or excessive charges on Class

member’s accounts were intentional, willful, unfair, and conducted in bad faith.

     141.      When engaging in the actions set forth above, Defendant acted with the intent

to deprive Plaintiffs and members of the Subclass of their contractual rights.

     142.      By these actions, Defendant breached the implied covenant of good faith and

fair dealing. Defendant breached its duties by failing to act fairly or in good faith.

     143.      Plaintiffs and members of the Count III Subclass were injured, harmed, and

incurred financial loss by way of Defendant’s conduct in amounts to be determined at trial.

     144.      As a result of the foregoing, Plaintiffs and the members of the Count III

Subclass are entitled to, among other things, damages, restitution, an accounting, and all

other relief deemed just and equitable by the Court.

                                    COUNT IV
               VIOLATION OF STATE CONSUMER PROTECTION STATUTES

                          (On Behalf of Oregon Subclass Members)
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     145.      Plaintiffs reallege and incorporate each allegation contained in the preceding

paragraphs of this Complaint as though fully set forth herein.

     146.      This count is asserted by members of the Oregon Subclass only (“Count IV

Subclass.”)

     147.      Plaintiffs and members of the Count IV Subclass assert this Count against

Defendant for engaging in the conduct described herein, which violates state consumer

protection statutes, including the following:

            a. Oregon: Oregon Unlawful Trade Practices Act, Or. Rev. Stat. §§ 646.605 to

               646.700;

(Collectively the above referenced statutes are referred to herein as the “State Consumer

Protection Statutes.”)

     148.      This Count is based on Defendant’s deceptive and misleading conduct and

common omissions of material fact.

     149.      The foregoing State Consumer Protection Statutes are remedial in nature and

all broadly prohibit deceptive, unfair, and misleading practices directed at consumers in the

course of business, including those alleged to have been conducted by Defendant as

described herein.

     150.      Plaintiffs are all persons within the meaning of each State Consumer

Protection Statute with standing to assert these claims on behalf of the state Subclass of

which they are a member.




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      151.    The items for which Defendant charged Plaintiffs and Class are goods,

services, and/or merchandise within the meaning of each State Consumer Protection

Statute.

      152.    Defendant charged Plaintiffs directly for the goods, services, and merchandise

at issue.

      153.    Defendant imposed and collected unauthorized and excessive charges from

Plaintiffs and members of the Count IV Subclass in a deceptive and misleading manner.

      154.    As described above, Defendant systematically and regularly engaged in: (1)

bait and switch tactics where customers were promised one price during the sales process

and then charged a higher rate upon being billed; and (2) being charged unauthorized fees,

including billing for services not ordered, for fake or duplicate accounts, for services ordered

but never delivered, for services that were canceled, for equipment that was properly

returned, and for early termination fees.

      155.    These practices were not isolated incidents but rather the result of widespread,

systematic, pervasive, and persistent conduct and business policies adopted by CenturyLink,

which were aimed at maximizing Defendant’s revenue at the expense of its customers.25

      156.    The practices in which Defendant engaged were likely to cause confusion in

Plaintiffs and members of the Count IV Subclass.




25See e.g., Assurance of Discontinuance between Qwest Corp. d/b/a/ Century Link QC and
Attorney General of Arizona, In the Matter of Qwest Corp. d/b/a CenturyLink QC, No. CV
2016-002842 (Ariz. Sup. Ct. Apr. 13, 2016) (confirming that such practices, if continued to
be engaged in, serve as prima facie evidence of a violation of the Arizona Consumer Fraud
Act.).
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      157.    Unauthorized charges were difficult for customers in the Class to detect. As

reported in USA Today: “As many as 20 million people are crammed each year, but only

about 1 in 20 realizes it, the Federal Communications Commission estimates. Cellphone and

landline cramming could cost consumers up to $2 billion a year.”26

      158.    Each of the State Consumer Protection Statutes prohibits unfair methods of

competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the

conduct of any trade or commerce. The elements comprising a consumer claim for damages

under each of the State Consumer Protection Statutes are: (1) a deceptive act or unfair

practice; (2) causation; and (3) actual damages.

      159.    Defendant engaged in unfair and deceptive acts and practices that violated

each of the State Consumer Protection Statutes, causing Plaintiffs and members of the

Count IV Subclass injury and financial loss. Additionally, the risk of future injury remains

unless enjoined.

      160.    As alleged herein, CenturyLink, through its employees and agents, engaged in

a pattern and practice of deceptive and misleading activity, and collection of monies by way

26 Prah, ‘Cramming’ phone scams targeted by state attorneys general, USA TODAY (Dec. 19, 2013),
available      at:    https://www.usatoday.com/story/news/nation/2013/12/19/stateline-
cellphone-cramming/4129561/)(last visited Feb. 14, 2018); See also Kim, How to Spot and
Detect Unauthorized Telephone Bill Fees, ABC NEWS (June 21, 2011), available at:
http://abcnews.go.com/Business/95-percent-victims-detect-unauthorized-
charges/story?id=13892850) (last visited Feb.14, 2018) (“About 15 to 20 million households
are overcharged for their telephone landlines by third party companies and only 5 percent
realize they are victims, according to the Federal Communications Commission.”); Chen,
Now on Your Cellphone Bill, Services You Never Wanted, N.Y. Times (July 4, 2014), available at:
https://www.nytimes.com/2014/07/05/technology/unauthorized-charges-on-cellphone-
bills-are-a-growing-nuisance.html) (last visited Feb. 14, 2018)(“But how do you spot the
charges if they are hidden? The Federal Communications Commission says cramming
charges are often listed in a bill with generic terms like ‘service charge,’ ‘service fee,’
‘membership,’ ‘other fees,’ ‘usage fee’ or ‘voice mail.’”).
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of false pretenses. Defendant engaged in deceptive, unconscionable, and/or unfair business

practices by, among other things: (a) causing Plaintiffs and members of the Count IV

Subclass to be billed for charges they did not request or authorize; and (b) billing at higher

rates than those agreed upon.

       161.    The amounts Defendant charged, collected, and auto-deducted from bank

accounts (or otherwise billed and collected) are material terms to CenturyLink customers.

490.     Price is a material term to consumers. Deceptively overcharging consumers in a

manner they are unlikely to detect within a short time period is a material misrepresentation

or an omission of material fact to reasonable consumers in the Count IV Subclass. As

explained in the Heiser complaint, as well as in the proceedings brought by the Minnesota

and Arizona Attorneys General, the misconduct described herein occurred in a regular and

continuous manner and Class members were injured because Defendant maintained

incentive programs for its employees and agents that provided financial incentives to engage

in such conduct.

       162.    Defendant never told the Class or any Subclass that they engaged in cramming

and/or maintained internal incentive programs aimed at increasing its revenues by charging

its customers with unauthorized and excessive fees. The omission of such facts was material,

as reasonable consumers contemplating transactions with Defendant, either initially or on an

ongoing basis, would have wanted to know about such practices prior to engaging in such

transactions. Reasonable consumers, had they been made aware of such facts, would have

acted differently, including but not limited to—if able—not purchasing the services or

acquiring their telecommunication services or products from alternative providers.


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     163.     Defendant had a duty to disclose material facts to Plaintiffs and members of

the Count IV Subclass. The information concealed was in the exclusive possession of

Defendant and not able to be obtained by Plaintiffs and Class members from other sources.

Additionally, Defendant made partial statements about price in the form of sales

representations and billing statements. Having spoken and provided partial information,

Defendant had an affirmative duty to fully disclose all facts, including the existence of

internal incentive programs aimed at overcharging Plaintiffs and the Class.

     164.     The practices described herein were intended to, and were likely to, deceive

consumers acting reasonably under the circumstances. Defendant intended Class members

to rely on it to accurately sell and bill only for services and products requested. Defendant

failed to do so and instead intentionally overcharged Plaintiffs and the Class.

     165.     Under each State Consumer Protection Statute, an objective test is employed

in determining whether a practice is likely to deceive a consumer acting reasonably. That is, a

party asserting a deceptive trade practice claim need not show actual reliance on the

representation or omission of material fact at issue. Defendant acted with the intent that

Plaintiffs and members of the Class rely on its concealment, suppression, or omission, in

connection with the sale or advertisement of goods and services, and therefore engaged in

unlawful practices in violation of each State Consumer Protection Statute. The amounts

overbilled to each customer each month are relatively small (less than $200) and therefore,

Defendant knows that certain customers may not immediately notice such discrepancies and

immediately seek corrections when appropriate. Defendant seeks to exploit and take




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advantage of that dynamic. Defendant intended to harm competition be engaging in the

foregoing conduct.

     166.      By way of the foregoing, Defendant violated specific provisions of the State

Consumer Protection Statutes, including, but not limited to, the following:

            a. Colorado: Colorado Consumer Protection Act, Colo. Rev. Stat. Ann. § 6-1-

               105 (1)(e), (g), (i), (l), (n), and (u);

            b. Minnesota: Minnesota Prevention of Consumer Fraud Act, Minn. Stat.

               §§ 325F.69, subd. 1 and subd. 4 (actionable under Minn. Stat. 8.31(3a)), and

               Minnesota Uniform Deceptive Trade Practices Act, Minn. Stat. § 325D.44,

               subd. 1 (5), (7), (9), and (13);

            c. Florida: Florida Deceptive and Unfair Trade Practices Act, Fla. Stat.

               § 501.204;

            d. Washington: Washington Consumer Protection Act, Wash. Rev. Code,

               § 19.86.020; § 19.86.90; § 19.86.93;

            e. Oregon: Oregon Unlawful Trade Practices Act, Or. Rev. Stat. § 646.607(1),

               (2); § 646.608(1)(b), (e), (g), (i), (j), (s), (u);

            f. Missouri: Missouri Merchandising Practices Act, Mo. Ann. Stat. § 407.020(1);

            g. New Mexico: New Mexico Unfair Practices Act, N.M. Stat. Ann. §§ 57-12-3;

            h. Iowa: Iowa Consumer Frauds Act, Iowa Code Ann. §§ 714H.3(1);

            i. Nevada: Nevada Deceptive Trade Practices Act, Nev. Rev. Stat. §§ 598.0915

               (5), (7), (9), (13), (15); § 598.0917(6);




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            j. Idaho: Idaho Consumer Protection Act, Idaho Code §§ 48-603(5), (7), (9),

               (11), (17), (18); § 48-603a(1), (2).


     167.      Plaintiffs and the Class lost money and were injured by Defendant’s deceptive,

unconscionable, and/or unfair business practices in amounts to be determined at trial.

     168.      The conduct described herein is continuing and will continue until enjoined.

Defendant engaged in the conduct described herein for profit and as a deliberate corporate

policy, rather than as an isolated incident. Defendant’s conduct was morally wrong, callous,

and/or oppressive.

     169.      Plaintiffs have satisfied all prerequisites for filing such claims, including the

provision of any pre-filing notice(s) and demand that Defendant stop engaging in the

complained of practices, if and where required. Any further delays in pursuing these claims

would be futile as Defendant continues to engage in the practices complained of and has

given no indication that it intends to change its practices, policies, or provide refunds and

other relief to all Plaintiffs, Class, and Subclass members.

     170.      As a result of the foregoing, Plaintiffs and the Count IV Subclass are entitled

to, among other things, under each State Consumer Protection Statute(s) that allows such

recovery: compensatory damages, any statutory damages and penalties allowed by law,

restitution, an accounting, injunctive and declaratory relief prohibiting any continuation of

the practices complained of, and all other relief deemed just and equitable by the Court,

including but not limited to reasonable attorneys’ fees and costs.




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                                  COUNT V
     VIOLATION OF THE LOUISIANA UNFAIR TRADE PRACTICES AND CONSUMER
         PROTECTION LAW, LA. REV. STAT. ANN. §§ 51-1401-1430 (“LUTPA”)

                            (On Behalf of All Class Members)
     171.     Plaintiffs reallege and incorporate each allegation contained in the preceding

paragraphs of this Complaint as though fully set forth herein.

     172.     This count is asserted in the alternative to Count IV and is asserted by

Plaintiffs on behalf of members of the Class.

     173.     Plaintiffs and the Class assert this claim against Defendant for engaging in the

misconduct described herein, which violates the Louisiana Unfair Trade Practices and

Consumer Protection Law, La. Rev. Stat. Ann. §§ 51-1401-1430 (“LUTPA”).

     174.      This claim is based on Defendant’s deceptive and misleading conduct and

common omissions of material fact, including charging its customer more for services than

agreed to and charging for unauthorized fees or services.

     175.     LUTPA is remedial in nature and broadly prohibits deceptive, unfair, and

misleading practices towards consumers in the course of business, including those alleged to

have been conducted by Defendant as described herein.

     176.     Plaintiffs are all persons within the meaning of LUTPA with standing to assert

this claim.

     177.     The items for which Defendant charged Plaintiffs and the Class are goods,

services, and/or merchandise within the meaning of LUTPA.

     178.     Defendant charged Plaintiffs and the Class for the goods, services and

merchandise at issue.


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      179.     As described in this Complaint, Defendant systematically and regularly

engaged in: (1) bait and switch tactics where customers were promised one price during the

sale and then charged a higher price at billing; and (2) imposing unlawful charges for services

or products never ordered, for services that had been canceled, for equipment that was never

ordered, for products that were properly returned, for improper termination fees, and for

other unauthorized charges. These practices were not isolated incidents but rather the result

of widespread, systematic, pervasive, and persistent conduct and business policies adopted

and aimed at maximizing Defendant’s revenue.27

      180.     LUTPA prohibits unfair methods of competition, unconscionable acts or

practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce.

The elements comprising a consumer claim for damages under LUTPA are: (1) a deceptive

act or unfair practice; (2) causation; and (3) actual damages.

      181.     Defendant here intended to outbid its competitors and lure customers by

engaging in the foregoing deceptive conduct.

      182.     Defendant engaged in unfair and deceptive acts and practices that violated

LUTPA, causing Plaintiffs and the Class injury and financial loss. Additionally, the risk of

future injury remains unless Defendant is enjoined.

      183.     As alleged, CenturyLink, through its employees and agents, has engaged in a

pattern and practice of deceptive and misleading activity, and collection of monies by way of

27See e.g., Assurance of Discontinuance between Qwest Corp. d/b/a/ Century Link QC and
Attorney General of Arizona, In the Matter of Qwest Corp. d/b/a CenturyLink QC, No. CV
2016-002842 (Ariz. Sup. Ct., Apr. 13, 2016) (confirming that such practices, if continued to
be engaged in, serve as prima facie evidence of a violation of the Arizona Consumer Fraud
Act.).

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false pretenses. Defendant engaged in deceptive, unconscionable, and/or unfair business

practices by, among other things: (a) causing Plaintiffs and the Class to be billed for charges

they did not request or authorize; and (b) billing at higher rates than those quoted.

     184.     Price is a material term to consumers. The amounts charged, collected, and

auto-deducted from bank accounts (or otherwise billed and collected) are material terms to

CenturyLink customers. Deceptively overcharging customers in a manner that is difficult to

detect within a short time period is a material misrepresentation or an omission of material

fact to reasonable consumers. As explained in the Heiser complaint and in the proceedings

brought by the Minnesota and Arizona Attorneys General, the practices at issue occurred in

a regular and continuous manner that injured Plaintiffs and the Class.

     185.     Defendant never informed Plaintiffs and the Class that it maintained internal

incentive programs aimed at increasing its revenues by charging customers unauthorized

charges. The omission of such facts was material, as reasonable consumers contemplating

transactions with Defendant, either initially or on an ongoing basis, would have wanted to

know about such practices prior to engaging in such transactions. Reasonable consumers,

had they been made aware of such facts would have acted differently, including but not

limited to—if able—acquiring their telecommunication services or products from alternative

providers.

     186.     Defendant had a duty to disclose material facts to Plaintiffs and the Class. The

information was in the exclusive possession of Defendant and not obtainable by Plaintiffs

and Class members from other sources. Additionally, Defendant made partial statements




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about price in the form of sales representations and billing statements. Having spoken and

provided partial information, Defendant had an affirmative duty to fully disclose all facts.

       187.    The practices described herein were intended to, and were likely to, deceive

consumers acting reasonably in the same circumstances. Defendant intended Class members

to rely on it to accurately sell and bill them only for services requested and at prices

promised. Defendant failed to do so and instead intentionally overcharged Plaintiffs and the

Class.

       188.    Under LUTPA, an objective test is employed in determining whether a

practice is likely to deceive a consumer acting reasonably. That is, a party asserting a

deceptive trade practice need not show actual reliance on the representation or omission at

issue.

       189.    Defendant acted with the intent that Plaintiffs and the Class rely on its

concealment, suppression, or omission, in connection with the sale or advertisement of its

products and services, and therefore engaged in unlawful practices in violation of LUTPA.

The amounts Defendant overcharged each customer each month are relatively small (less

than $200). Defendant knows that customers may not immediately notice such discrepancies

and seek corrections. Defendant sought to exploit and take advantage of that dynamic.

491.     By engaging in this misconduct, Defendant violated LUTPA, including, but not

limited to, La. Rev. Stat. Ann. § 51-1403 (“Any consumer contract, express or implied, made

by any person, firm, or corporation in violation of this Chapter is an illegal contract and no

recovery thereon shall be had.”), and § 1405 (“Unfair methods of competition and unfair or




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deceptive acts or practices in the conduct of any trade or commerce are hereby declared

unlawful.”).

     190.      LUTPA applies to transactions between a Louisiana-based merchant, like

CenturyLink, and out-of-state consumers. La. Rev. Stat. Ann. § 51-1418(A).

     191.      Plaintiffs and the Class lost money and were injured by Defendant’s deceptive,

unconscionable, and/or unfair business practices in amounts to be determined at trial.

     192.      The misconduct alleged is continuing and will continue until Defendant is

enjoined. Defendant engaged in the misconduct described for profit and as a deliberate

corporate policy, rather than as an isolated incident. Defendant’s conduct was morally

wrong, callous, and/or oppressive.

     193.      Plaintiffs have satisfied all prerequisites for filing this claim, including the

provision of any pre-filing notice. Any further delays in pursuing this claim would be futile as

Defendant continues to engage in the practices complained of and has given no indication

that it intends to change its practices, policies, or provide refunds or other relief to all

Plaintiffs, Class, and Subclass members.

     194.      As a result of the foregoing, Plaintiffs and the Class are entitled to, among

other things, compensatory damages, any statutory damages and penalties allowed by law,

restitution, an accounting, injunctive and declaratory relief, and all other relief deemed just

and equitable by the Court, including but not limited to reasonable attorneys’ fees and costs.

                                      COUNT VI
                            NEGLIGENT MISREPRESENTATION

                             (On Behalf of All Class Members)



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     195.      Plaintiffs reallege and incorporate each allegation contained in the preceding

paragraphs of this Complaint as though fully set forth herein.

     196.      This Count is asserted on behalf of the Class.

     197.      One who, in the course of business, profession or employment, or in any

other transaction in which he has a pecuniary interest, supplies false information for the

guidance of others in their business transactions, is subject to liability for pecuniary loss

caused to them by their justifiable reliance upon the information, if he fails to exercise

reasonable care or competence in obtaining or communicating the information.

     198.      Throughout the course of its business, Defendant incorrectly and unlawfully

represented sales and billing information to Plaintiffs and the Class. Defendant frequently

billed Plaintiffs and the Class at rates higher than those quoted, and similarly, inappropriately

billed Plaintiffs and the Class for unrequested services, inapplicable fees, and incorrectly

bundled services, among other improper charges. Defendant represented one price for its

services and products but then regularly charged higher rates than originally disclosed.

     199.      Defendant’s omissions of material fact toward Class members, as described

herein, were deceptive and misleading.

     200.      Defendant was in a superior position to know material facts regarding its sales

and billing practices, but failed to disclose them to Plaintiffs and the Class.

     201.      Due to its superior position, exclusive knowledge, and partial disclosures,

Defendant had a duty to disclose the material facts it concealed from Plaintiffs and the Class

regarding the described misconduct.




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     202.     Defendant knew of the misleading nature of its statements because it

concealed material facts. Defendant induced Plaintiffs and the Class to pay more than

agreed.

     203.     CenturyLink was negligent and reckless in making its omissions, as it had a

duty to provide accurate and complete information with care to its customers, who had a

right to rely on that information. CenturyLink breached that duty by providing inaccurate

information and concealing material facts without exercising due care to ensure Class

members were fully and accurately informed.

     204.     Plaintiffs and the Class justifiably relied on Defendant’s omissions of material

fact. Had Defendant informed Plaintiffs and the Class of material facts, they would have

acted differently, including but not limited to—if able—taking steps not to transact with

Defendant and/or to obtain their internet and telephone services from alternative providers

who did not engage in cramming and other deceptive practices.

     205.     CenturyLink’s negligent misrepresentations and omissions proximately caused

harm to Plaintiffs and the Class.

     206.     As a result of the foregoing, Plaintiffs and the Class are entitled to, among

other things damages, an accounting, and all other relief deemed just and equitable by the

Court.

                                     COUNT VII
                               FRAUDULENT INDUCEMENT

                             (On Behalf of All Class Members)
     207.     Plaintiffs reallege and incorporate each allegation contained in the preceding

paragraphs of this Complaint as though fully set forth herein.

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     208.      This count is asserted on behalf of the Class.

     209.      CenturyLink falsely represented and/or omitted material facts that were

susceptible of knowledge, with the intent of inducing Plaintiffs and Class to act.

     210.      Plaintiffs and the Class justifiably relied on the representation and/or

omissions, and suffered damages as a proximate cause of that reliance.

     211.      Here, CenturyLink falsely and unlawfully represented and/or omitted material

facts to Plaintiffs and the Class, namely in its billing and sales practices, that it engaged in

cramming and employee incentive and bonus programs which incentivized employees to

engage in such deceptive practices. CenturyLink billed Plaintiffs and the Class at rates higher

than those promised, and similarly, inappropriately billed Plaintiffs and the Class for

unrequested services, inapplicable fees, and incorrectly bundled services, among other

unauthorized charges.

     212.      CenturyLink’s representations were untrue, misleading, unfair, and susceptible

of knowledge. Further, Century Link’s material omissions were deceptive.

     213.      CenturyLink had superior knowledge and was in exclusive control of the

material facts at issue. It had a duty to disclose them to Plaintiffs and the Class.

     214.      CenturyLink made its false representations and omissions with the intent of

inducing Plaintiffs and the Class to obtain and continue paying for services from

CenturyLink.

     215.      Plaintiffs and members of the Class justifiably relied on CenturyLink’s false

information and omissions.




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     216.      CenturyLink’s false information and omissions proximately caused harm to

Plaintiffs and the Class.

     217.      As a result of the foregoing, Plaintiffs and the Class are entitled to, among

other things damages, an accounting, and all other relief deemed just and equitable by the

Court.

                                       COUNT VIII
                                   UNJUST ENRICHMENT

                             (On Behalf of All Class Members)
     218.      Plaintiffs reallege and incorporate each allegation contained in the preceding

paragraphs of this Complaint as though fully set forth herein.

     219.      This Count is asserted on behalf of the Class.

     220.      As a result of Defendant’s unlawful, unfair, deceptive, and wrongful acts and

omissions, customers bore the brunt of the excessive and unauthorized charges and ended

up paying millions of dollars while the Company unjustly reaped profits.

     221.      As alleged herein, Defendant was unjustly enriched at the expense of Plaintiffs

and Class members, who were grossly and inequitably overcharged for Defendant’s

telecommunications products and services.

     222.      Defendant unjustly deprived Plaintiffs and Class members of money they

overpaid due to the Company’s deceptive sales and billing practices.

     223.      Defendant’s retention of this ill-gotten revenue is unjust and inequitable

because Defendant used illegal, deceptive, and unfair business practices to induce or

otherwise mislead customers to open, purchase, and/or retain Defendant’s products and

services.

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     224.     Defendant’s retention of this revenue is also unjust and inequitable because

Defendant used illegal, deceptive, and unfair business practices to bill customers for services

neither requested nor provided. Many Plaintiffs had to pay these unauthorized charges in

order to move, and to avoid collections and/or adverse consequences to their credit rating.

Defendant received a benefit for products and/or services that Plaintiffs did not bargain for.

     225.     Defendant was aware of the benefit it was receiving as a result of its unlawful,

unfair, deceptive, and wrongful acts and omissions, and has enjoyed the benefits of its

financial gains to the detriment and at the expense of Plaintiffs and Class members.

     226.     Defendant’s retention of the non-gratuitous benefits conferred by Plaintiffs

and Class members is unjust and inequitable. Plaintiffs and Class members are entitled to

seek restitution and all other relief as deemed just and equitable, including but not limited to,

an order requiring Defendant to disgorge all profits, benefits, and other compensation

obtained by virtue of its wrongful conduct.

     227.     This claim is asserted as an alternative to Plaintiffs’ claim for breach of

contract and in recognition that any contracts executed by Plaintiffs and Class members may

be void or voidable.

     228.     Plaintiffs and the Class directly conferred a benefit upon Defendant through

their overpayments.

     229.     Defendant was aware of the benefit it was receiving as a result of its unlawful,

unfair, deceptive, and wrongful acts and omissions, and has enjoyed the benefits of its

financial gains to the detriment and at the expense of Plaintiffs and members of the Class.




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     230.        Defendant’s retention of the improper amounts gained through its wrongful

acts and practices was inequitable and unjust. Plaintiffs and the Class paid these improper

amounts to Defendant in reliance on its material misrepresentations and omissions of fact.

     231.        Plaintiffs and members of the Class have no adequate remedy at law.

     232.        Plaintiffs and members of the Class are entitled to seek restitution and other

relief from Defendant, including but not limited to, an order requiring Defendant to

disgorge all profits, benefits, and other compensation obtained through and for its wrongful

conduct.

                                    VIII. PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves, the Class, and Subclass,

respectfully request that the Court:

            1.   Certify the Class and Subclass pursuant to Fed. R. Civ. P. 23 and appoint

                 Plaintiffs and their counsel to represent the Class and Subclass pursuant to

                 Fed. R. Civ. P. 23(g);

            2.   Award Plaintiffs, the Class, and Subclass monetary damages as allowable by

                 law;

            3.   Award Plaintiffs, the Class, and Subclass pre-judgment and post-judgment

                 interest as allowable by law;

            4.   Award Plaintiffs, the Class, and Subclass reasonable attorneys’ fees and costs

                 as allowable by law;

            5.   Award Plaintiffs, the Class, and Subclass all appropriate equitable relief; and




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           6.   Award Plaintiffs, the Class, and Subclass all such further relief as allowable by

                law and equity.

                                     JURY TRIAL DEMAND
        Plaintiffs, on behalf of themselves, the Class, and Subclass, demand a trial by jury on

all issues so triable.

Dated: May 4, 2018                           Respectfully submitted,

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